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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GLITCH PRODUCTIONS PTY LTD,

                        Plaintiff,
       v.                                               Case No. 24-cv-05804

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                        Defendants.


                                          COMPLAINT

       Plaintiff Glitch Productions Pty Ltd (“Glitch” or “Plaintiff”) hereby brings the present

action against the Partnerships and Unincorporated Associations Identified on Schedule A attached

hereto (collectively, “Defendants”) and alleges as follows:

                             I.       JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over Glitch’s claims pursuant to

the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., the Copyright Act 17 U.S.C. § 501,

et seq., 28 U.S.C. § 1338(a)-(b) and 28 U.S.C. § 1331.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

exercise personal jurisdiction over Defendants because Defendants structure their business

activities to target consumers in the United States, including Illinois, through at least the fully

interactive e-commerce stores operating under the aliases identified on Schedule A attached hereto

(the “Seller Aliases”). Specifically, Defendants have targeted sales to Illinois residents by setting

up and operating e-commerce stores that target United States consumers; offer shipping to the

United States, including Illinois; accept payment in U.S. dollars; and, on information and belief,




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sell products using infringing and counterfeit versions of Glitch’s federally registered trademark

and/or unauthorized copies of Glitch’s federally registered copyrighted works (collectively, the

“Unauthorized Products”) to residents of Illinois. Each of the Defendants is committing tortious

acts in Illinois, is engaging in interstate commerce, and has wrongfully caused Glitch substantial

injury in the state of Illinois.

                                    II.     INTRODUCTION

        3.      Glitch filed this case to prevent e-commerce store operators who trade upon

Glitch’s reputation and goodwill from further selling and/or offering for sale Unauthorized

Products. Defendants create e-commerce stores under one or more Seller Aliases and then

advertise, offer for sale, and/or sell Unauthorized Products to unknowing consumers. E-commerce

stores operating under the Seller Aliases share identifiers, such as design elements and similarities

of the Unauthorized Products offered for sale, establishing that a logical relationship exists

between them, and that Defendants’ infringing operation arises out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants take advantage of a set of

circumstances, including the anonymity and mass reach afforded by the Internet and the cover

afforded by international borders, to violate Glitch’s intellectual property rights with impunity.

Defendants attempt to avoid liability by operating under one or more Seller Aliases to conceal

their identities, locations, and the full scope and interworking of their operation. Glitch is forced

to file this action to combat Defendants’ counterfeiting of its registered trademark and

infringement of its registered copyrighted works, as well as to protect consumers from purchasing

Unauthorized Products over the Internet. Glitch has been, and continues to be, irreparably damaged

through consumer confusion and dilution of its valuable trademark and infringement of its




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copyrighted works because of Defendants’ actions and therefore seeks injunctive and monetary

relief.

                                       III.    THE PARTIES

           4.    Plaintiff, Glitch Productions Pty Ltd, was formed in 2017 and is an Australian web

animation studio and entertainment production and distribution company specializing in the

development, production, and distribution of entertainment content. Plaintiff has its principal

place of business in Australia.

           5.     Plaintiff is an indie animation studio that does it all, from pre-production to post

production, marketing to management. Plaintiff is known for sharing fun and whimsical stories

that primarily appeal to teenagers and young adults. While lighthearted, these stories also respect

the audience’s ability to appreciate mature plots and complex themes. Plaintiff is also largely

recognized for its dedication to creating these stories through 3D animation, an art style not

typically associated with traditional animation. By its unique animation style and its approach to

storytelling, Plaintiff has amassed over 8.5 million subscribers to its YouTube channel. Plaintiff’s

roster of properties includes famous web series such as The Amazing Digital Circus, Meta Runner,

Sunset Paradise, SMG4, and the subject of this action, Murder Drones.

           6.    The Murder Drones brand is built on an ongoing web series, created by Liam

Vickers, which is set on a post-apocalyptic exoplanet called Copper 9 owned by a mining

corporation. After the core collapse of Copper 9, all biological life on the planet is wiped out.

Copper 9 is then inherited by service robots that try to eke out a new civilization from the ruins of

Copper 9 and killer robots that are programmed to destroy any robots not following company

protocol. The story follows Uzi, a sardonic teen helper robot gone rogue who befriends N, an

excitable optimistic Murder Drone sent to destroy her.




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        7.      Murder Drones is one of Glitch’s most popular shows. The pilot episode alone

received 1 million views on the first day, and within a month received over 5 million views.

Murder Drones was also nominated for the 2023 Webby Awards for Best Animated Video (Series

& Channels). Some of the characters and character names made famous by Murder Drones

include, but are not limited to: 1




              Cyn




1
 The characters contained within the table are not an exhaustive list of the characters embodied in Glitch’s
copyrighted works. This table is included only to provide examples of the characters found on the infringing
products offered for sale or sold by Defendants. Regardless of any changes in their design, each of these
characters, among others contained within Glitch’s copyrighted works, have always maintained their
distinctive qualities and unique elements of expression.


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       J




      N




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              Uzi




              V




         8.    Since the release of the pilot, Murder Drones has amassed a large and dedicated

fan base that aims to enjoy the dark and comedic story created by the pilot episode. Following the

runaway success of the pilot episode, Vickers and Glitch have released subsequent episodes of the

show.

         9.    Before Defendants’ acts described herein, Glitch launched Murder Drones and its

related line of products bearing its famous MURDER DRONES mark. Glitch has also registered

a multitude of works related to the Murder Drones series and the characters embodied therein with



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the United States Copyright Office (the “MD Copyrighted Works”). The registrations include but

are not limited to: “Murder Drones logo.” (U.S. Copyright Registration No. VA0002392355),

“Cyn.” (U.S. Copyright Registration No. VA0002392949), “J.” (US Copyright Registration No.

VA0002392950), “N.” (U.S. Copyright Registration No. VA0002392951), “Uzi” (U.S. Copyright

Registration No. VA0002392952), and “V” (U.S. Copyright Registration No. VA0002392953) all

issued by the Registrar of Copyrights on February 15, 2023.

        10.    The MD Copyrighted Works are registered with the United States Copyright

Office. True and correct copies of the records from the U.S. Copyright Office website for the MD

Copyrighted Works are attached hereto as Exhibit 1. The MD Copyrighted Works embody the

distinctive characters found in paragraph 7 above.

        11.    Among the exclusive rights granted to Glitch under the U.S. Copyright Act are the

exclusive rights to reproduce, prepare derivative works of, distribute copies of, and display the

MD Copyrighted Works to the public. Since first publication, the MD Copyrighted Works have

been    used   on   Glitch’s   products   and   are   featured   on   Glitch’s   official   website,

www.glitchproductions.store.

        12.    Glitch markets and sells a variety of Murder Drones branded products, including

plushies, figurines, acrylic stands, keychains, notebooks, pens, posters, pins, clothing, and hats

(collectively, “MD Products”).

        13.    MD Products have become enormously popular and even iconic, driven by Glitch’s

quality standards and innovative designs. Among the purchasing public, MD Products are

instantly recognizable as such. The Murder Drones brand has become a global success and MD

Products are among the most recognizable in the world. MD Products are distributed and sold to

consumers through Plaintiff’s official website, www.glitchproductions.store.




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       14.      Glitch has continuously used the MURDER DRONES trademark, and other

trademarks, and has continuously sold products under its MURDER DRONES trademark (the

“MD Trademark”). As a result of this continuous use as well as the fame and popularity of Murder

Drones, strong common law trademark rights have amassed in the MD Trademark. Glitch’s use

of the mark has also built substantial goodwill in the MD Trademark. The MD Trademark is a

famous mark and a valuable asset of Glitch. MD Products typically include the MD Trademark

and/or MD Copyrighted Works.

       15.      The MD Trademark is registered with the United States Patent and Trademark

Office and is included below.

  Registration                                  Registration
   Number                Trademark                 Date                  Goods and Services
                                                                   For: Clothing, namely, shorts,
                                                                   pants, coats, dresses, skirts and
                                                                   socks; footwear; headwear; t-
                                                                   shirts; printed t-shirts; shirts;
                                                                   bandanas, namely, neckerchiefs;
                                                                   shorts; hooded sweatshirts;
                                                                   jumpers, namely, pullovers;
                                                                   jumpers in the nature of sweaters;
                                                                   singlets; sweatbands; wristbands
                                                                   as clothing; hats in class 025.

                                                                   For: Action toys, namely, action
                                                                   figure toys; children's toys,
    7,082,519       MURDER DRONES                  Jun. 20, 2023
                                                                   namely, stuffed toys; costumes for
                                                                   toys, namely, doll costumes;
                                                                   cuddly toys, namely, plush dolls;
                                                                   electronic children's multiple
                                                                   activity toys; molded plastic toy
                                                                   figurines; scale model toy figures;
                                                                   toy models; plastic toys, namely,
                                                                   toy figures; plush toys; plush
                                                                   stuffed toys; scale model kits;
                                                                   toys, namely, dolls; electronic
                                                                   games apparatus adapted for use
                                                                   with an external display screen or
                                                                   monitor; dice games; arcade game



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                                                    machines; gaming machines;
                                                    games, namely, arcade game
                                                    machines, action target games,
                                                    board games and card games;
                                                    electronic games for teaching
                                                    children; party games; portable
                                                    gaming devices, namely, portable
                                                    video game consoles; trading
                                                    cards for games; dolls; plush dolls
                                                    in class 028.

                                                    For: Arranging of entertainment,
                                                    namely, arranging and conducting
                                                    social entertainment events;
                                                    entertainment, namely, live show
                                                    performances featuring video
                                                    animation; fan club services for
                                                    entertainment; live entertainment,
                                                    namely, live audio performances
                                                    by actors; live entertainment
                                                    production services, namely, live
                                                    audio performances by actor;
                                                    organisation of competitions,
                                                    namely, entertainment and
                                                    educational services in the nature
                                                    of competitions in the field of
                                                    entertainment, education, culture,
                                                    sports, and other non-business and
                                                    non-commercial fields; arranging
                                                    of contests; organisation of
                                                    entertainment events in the nature
                                                    of live musical performances;
                                                    production of audio
                                                    entertainment, namely, production
                                                    of audio recordings; production of
                                                    video podcasts; production of live
                                                    entertainment, namely, production
                                                    of television shows, plays;
                                                    provision of online non-
                                                    downloadable audio and video
                                                    entertainment in the nature of
                                                    visual and audio recordings
                                                    featuring animated content via
                                                    electronic or digital transmission;
                                                    provision of online non-
                                                    downloadable audio and video
                                                    entertainment in the nature of


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                                                                   visual and audio recordings
                                                                   featuring animated entertainment;
                                                                   television entertainment in the
                                                                   nature of ongoing television
                                                                   programs in the field of variety;
                                                                   video entertainment services,
                                                                   namely, providing a web site
                                                                   featuring video presentations
                                                                   featuring animations; providing
                                                                   online information in the field of
                                                                   entertainment; providing online
                                                                   videos, not downloadable, in the
                                                                   field of animations; film
                                                                   production services, other than
                                                                   advertising films; production of
                                                                   animated cartoons; providing
                                                                   online electronic publications, not
                                                                   downloadable, namely,
                                                                   newsletters in the field of
                                                                   animation entertainment;
                                                                   electronic publication of
                                                                   information on a wide range of
                                                                   topics, including online and over a
                                                                   global computer network, namely,
                                                                   publishing of electronic
                                                                   publications; publishing of
                                                                   electronic publications;
                                                                   screenplay writing; production of
                                                                   webcasts, other than advertising,
                                                                   namely, providing webcasts in the
                                                                   field of animation entertainment;
                                                                   online publication of journals or
                                                                   diaries consisting of weblog and
                                                                   blog services in the nature of
                                                                   online journals, namely, blogs
                                                                   featuring animation entertainment
                                                                   in class 041.

       16.     The U.S. registrations for the MD Trademark is valid, subsisting, and in full force

and effect. The registration for the MD Trademark constitutes prima facie evidence of its validity

and of Glitch’s exclusive right to use the MD Trademark pursuant to 15 U.S.C. § 1057(b). A true

and correct copy of the United States Registration Certificate for the MD Trademark is attached

hereto as Exhibit 2.


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       17.     The MD Trademark is exclusive to Glitch and are displayed extensively on MD

Products and in marketing and promotional materials. The MD Trademark is also distinctive when

applied to MD Products, signifying to the purchaser that the products come from Glitch and are

manufactured to Glitch’s quality standards. Whether Glitch manufactures the products itself or

contracts with others to do so, Glitch has ensured that its products bearing the MD Trademark are

manufactured to the highest quality standards.

       18.     The MD Trademark is a famous mark, as that term is used in 15 U.S.C. § 1125(c)(1)

and has been continuously used and never abandoned. The innovative marketing and product

designs of MD Products have enabled the Murder Drones brand to achieve widespread recognition

and fame and have made the MD Trademark one of the most well-known marks in the

entertainment industry. The widespread fame, outstanding reputation, and significant goodwill

associated with the Murder Drones brand have made the MD Trademark a valuable asset of Glitch.

       19.     Products bearing the MD Trademark have been the subject of substantial and

continuous marketing and promotion by Glitch. Glitch has and continues to market and promote

the MD Trademark in the industry and to consumers through the official Glitch website

www.glitchproductions.store.

       20.     Glitch has expended substantial time, money, and other resources in advertising

and promoting the MD Trademark. Specifically, Glitch has expended substantial resources in

advertising, promoting, and marketing featuring the MD Trademark. MD Products have also been

the subject of extensive unsolicited publicity resulting from their high-quality, innovative designs.

As a result, products bearing the MD Trademark are widely recognized and exclusively associated

by consumers as being high-quality products sourced from Glitch. MD Products have become

among the most popular of their kind in the world. The MD Trademark has achieved tremendous




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fame and recognition, adding to the inherent distinctiveness of the mark. As such, the goodwill

associated with the MD Trademark is of immeasurable value to Glitch.

         21.   MD Products are sold only through authorized retail channels and are recognized

by the public as being exclusively associated with the Murder Drones brand.

         22.   Defendants are unknown individuals and business entities who own and/or operate

one or more of the e-commerce stores under the Seller Aliases identified on Schedule A and/or

other seller aliases not yet known to Glitch. On information and belief, Defendants reside and/or

operate in foreign jurisdictions and redistribute products from the same or similar sources in those

locations. Defendants have the capacity to be sued pursuant to Federal Rules of Civil Procedure

17(b).

         23.   On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their operation make it virtually

impossible for Glitch to learn Defendants’ true identities and the exact interworking of their

network. If Defendants provide additional credible information regarding their identities, Glitch

will take appropriate steps to amend the Complaint.

                      IV.     DEFENDANTS’ UNLAWFUL CONDUCT

         24.   The success of the Murder Drone brand has resulted in significant counterfeiting of

the MD Trademark and infringement of the MD Copyrighted Works. Because of this, Glitch has

implemented a brand protection program by investigating suspicious websites and online

marketplace listings identified in proactive Internet sweeps. Recently, Glitch has identified many

fully interactive e-commerce stores offering Unauthorized Products on online marketplace

platforms like Alibaba Group Holding Ltd. (“Alibaba”), AliExpress.com (“AliExpress”),




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Amazon.com, Inc. (“Amazon”), DHGate.com (“DHGate”), eBay Inc. (“eBay”), Redbubble

Limited (“Redbubble”), TP Apparel LLC (“Teepublic”), and Walmart, Inc. (“Walmart”),

including the e-commerce stores operating under the Seller Aliases. The Seller Aliases target

consumers in this Judicial District and throughout the United States. According to a report

prepared for The Buy Safe America Coalition, most infringing products now come through

international mail and express courier services because of increased sales from foreign online

infringers. The Counterfeit Silk Road: Impact of Counterfeit Consumer Products Smuggled Into

the United States, prepared by John Dunham & Associates (Exhibit 3).

        25.    Because the infringing products sold by offshore online infringers do not enter

normal retail distribution channels, the US economy lost an estimated 300,000 or more full-time

jobs in the wholesale and retail sectors alone in 2020. Id. When accounting for lost jobs from

suppliers that would serve these retail and wholesale establishments, and the lost jobs that would

have been induced by employees re-spending their wages in the economy, the total economic

impact resulting from the sale of infringing products was estimated to cost the United States

economy over 650,000 full-time jobs that would have paid over $33.6 billion in wages and

benefits. Id. Additionally, it is estimated that the importation of infringing goods cost the United

States government nearly $7.2 billion in personal and business tax revenues in the same period.

Id.

        26.    Furthermore, online marketplace platforms like those used by Defendants do not

adequately subject new sellers to verification and confirmation of their identities, allowing

infringers to “routinely use false or inaccurate names and addresses when registering with these e-

commerce platforms.” Exhibit 4, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the

Age of the Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also report on “Combating




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Trafficking in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland

Security’s Office of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Exhibit 5, and finding

that on “at least some e-commerce platforms, little identifying information is necessary for a

counterfeiter to begin selling” and that “[t]he ability to rapidly proliferate third-party online

marketplaces greatly complicates enforcement efforts, especially for intellectual property rights

holders.” Infringers hedge against the risk of being caught and having their websites taken down

from an e-commerce platform by establishing multiple virtual storefronts. Exhibit 5 at p. 22.

Since platforms generally do not require a seller on a third-party marketplace to identify the

underlying business entity, infringers can have many different profiles that can appear unrelated

even though they are commonly owned and operated. Exhibit 5 at p. 39. Further, “[e]-commerce

platforms create bureaucratic or technical hurdles in helping brand owners to locate or identify

sources of [infringing products] and [infringers].” Exhibit 4 at 186-187. Specifically, brand

owners are forced to “suffer through a long and convoluted notice and takedown procedure only

[for the infringer] to reappear under a new false name and address in short order.” Id. at p. 161.

       27.     Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases; offer

shipping to the United States, including Illinois; accept payment in U.S. dollars; and, on

information and belief, sell Unauthorized Products to residents of Illinois.

       28.     Defendants concurrently employ and benefit from similar advertising and

marketing strategies. For example, Defendants facilitate sales by designing the e-commerce stores

operating under the Seller Aliases so that they appear to unknowing consumers to be authorized

online retailers, outlet stores, or wholesalers. E-commerce stores operating under the Seller Aliases

appear sophisticated and accept payment in U.S. dollars via numerous methods, including credit




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cards, Alipay, Amazon Pay, and/or PayPal. E-commerce stores operating under the Seller Aliases

often include content and images that make it very difficult for consumers to distinguish such

stores from an authorized retailer. Glitch has not licensed or authorized Defendants to use any of

the MD Trademark and/or to copy or distribute the MD Copyrighted Works, and none of the

Defendants are authorized retailers of MD Products.

       29.     Many Defendants also deceive unknowing consumers by using the MD Trademark

without authorization within the content, text, and/or meta tags of their e-commerce stores to

attract consumers using search engines to find websites relevant to MD Products. Other e-

commerce stores operating under the Seller Aliases omit using the MD Trademark in the item title

to evade enforcement efforts while using strategic item titles and descriptions that will trigger their

listings when consumers are searching for MD Products.

       30.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete

information to e-commerce platforms to prevent discovery of their true identities and the scope of

their e-commerce operation.

       31.     E-commerce store operators like Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Unauthorized Products. Such seller alias

registration patterns are one of many common tactics used by e-commerce store operators like

Defendants to conceal their identities and the full scope and interworking of their operation, and

to avoid being shut down.

       32.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share identifiers, such as templates with common

design elements that intentionally omit any contact information or other information for




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identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features such as use of the same registration

patterns, accepted payment methods, check-out methods, keywords, advertising tactics,

similarities in price and quantities, the same incorrect grammar and misspellings, and/or the use of

the same text and images. Additionally, Unauthorized Products for sale by the Seller Aliases bear

similar irregularities and indicia of being unauthorized to one another, suggesting that the

Unauthorized Products were manufactured by and come from a common source and that

Defendants are interrelated.

       33.     E-commerce store operators like Defendants communicate with each other through

QQ.com chat rooms and utilize websites, like sellerdefense.cn, that provide tactics for operating

multiple online marketplace accounts and evading detection by brand owners. Websites like

sellerdefense.cn also tip off e-commerce store operators like Defendants of new intellectual

property infringement lawsuits filed by brand owners, such as Glitch, and recommend that e-

commerce operators cease their infringing activity, liquidate their associated financial accounts,

and change the payment processors that they currently use to accept payments in their online stores.

       34.     Infringers, such as Defendants, typically operate under multiple seller aliases and

payment accounts so that they can continue operation despite Glitch’s enforcement. E-commerce

store operators like Defendants maintain off-shore bank accounts and regularly move funds from

their financial accounts to off-shore accounts outside the jurisdiction of this Court to avoid

payment of any monetary judgment awarded to Glitch.

       35.     Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Unauthorized Products in the same transaction,

occurrence, or series of transactions or occurrences. Defendants, without any authorization or




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license from Glitch, have jointly and severally, knowingly, and willfully used and continue to use

the MD Trademark and/or copies of the MD Copyrighted Works in connection with the

advertisement, distribution, offering for sale, and sale of Unauthorized Products into the United

States and Illinois over the Internet.

       36.     Defendants’ unauthorized use of the MD Trademark and/or MD Copyrighted

Works in connection with the advertising, distribution, offering for sale, and sale of Unauthorized

Products, including the sale of Unauthorized Products into the United States, including Illinois, is

likely to cause, and has caused, confusion, mistake, and deception by and among consumers and

is irreparably harming Glitch.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       37.     Glitch hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

       38.     This is a trademark infringement action against certain Defendants 2 based on their

unauthorized use in commerce of counterfeit imitations of the MD Trademark in connection with

the sale, offering for sale, distribution, and/or advertising of infringing goods. The MD Trademark

is a highly distinctive mark. Consumers have come to expect the highest quality from MD

Products offered, sold, or marketed under the MD Trademark.

       39.     Certain Defendants have sold, offered to sell, marketed, distributed, and advertised,

and are still selling, offering to sell, marketing, distributing, and advertising products using

counterfeit reproductions of the MD Trademark without Glitch’s permission.




2
 Count I applies to all Defendants who infringed the MD Trademark, as outlined in Schedule A attached
hereto.


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       40.     Glitch owns the MD Trademark. Glitch’s United States registration for the MD

Trademark is in full force and effect. Upon information and belief, certain Defendants have

knowledge of Glitch’s rights in the MD Trademark and are willfully infringing and intentionally

using infringing and counterfeit versions of the MD Trademark. Those Defendants’ willful,

intentional, and unauthorized use of the MD Trademark is likely to cause, and is causing,

confusion, mistake, and deception as to the origin and quality of the Unauthorized Products among

the general public.

       41.     Certain Defendants’ activities constitute willful trademark infringement and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       42.     Glitch has no adequate remedy at law, and if certain Defendants’ actions are not

enjoined, Glitch will continue to suffer irreparable harm to its reputation and the goodwill of the

MD Trademark.

       43.     The injuries and damages sustained by Glitch have been directly and proximately

caused by certain Defendants’ wrongful reproduction, use of advertisement, promotion, offering

to sell, and/or sale of Unauthorized Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       44.     Glitch hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

       45.     Certain Defendants’ 3 promotion, marketing, offering for sale, and sale of

Unauthorized Products has created and is creating a likelihood of confusion, mistake, and




3
 Count II applies to all Defendants who infringed the MD Trademark, as outlined in Schedule A attached
hereto.


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deception among the general public as to the affiliation, connection, or association with Glitch or

the origin, sponsorship, or approval of the Unauthorized Products by Glitch.

       46.     By using the MD Trademark in connection with the offering for sale and/or sale of

Unauthorized Products, certain Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the Unauthorized Products.

       47.     Certain Defendants’ false designation of origin and misrepresentation of fact as to

the origin and/or sponsorship of the Unauthorized Products to the general public involves the use

of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       48.     Glitch has no remedy at law and will continue to suffer irreparable harm to its

reputation and the associated goodwill of the Murder Drones brand if certain Defendants’ actions

are not enjoined.

                              COUNT III
          COPYRIGHT INFRINGEMENT OF UNITED STATES COPYRIGHT
                  REGISTRATIONS (17 U.S.C. §§ 106 and 501)

       49.     Glitch hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

       50.     The MD Copyrighted Works constitute original works and copyrightable subject

matter pursuant to the Copyright Act, 17 U.S.C. § 101, et seq.

       51.     Glitch owns the MD Copyrighted Works. Glitch has complied with the registration

requirements of 17 U.S.C. § 411(a) for the MD Copyrighted Works. The MD Copyrighted Works

are protected by copyright registration numbers which were duly issued to Glitch by the United

States Copyright Office. At all relevant times, Glitch has been, and still is, the owner of all rights,

title, and interest in the MD Copyrighted Works, which have never been assigned, licensed, or

otherwise transferred to Defendants.




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       52.     The MD Copyrighted Works are published on the Internet and available to

Defendants online. As such, Defendants had access to the MD Copyrighted Works via the Internet.

       53.     Without authorization from Glitch, or any right under the law, certain Defendants 4

have deliberately copied, displayed, distributed, reproduced, and/or made derivative works

incorporating the MD Copyrighted Works on e-commerce stores operating under the Seller Aliases

and the corresponding Unauthorized Products. Certain Defendants’ derivative works are virtually

identical to and/or are substantially similar to the look and feel of the MD Copyrighted Works.

Such conduct infringes and continues to infringe the MD Copyrighted Works in violation of 17

U.S.C. § 501(a) and 17 U.S.C. §§ 106(1)–(3), (5).

       54.     Certain Defendants reap the benefits of the unauthorized copying and distribution

of the MD Copyrighted Works in the form of revenue and other profits that are driven by the sale

of Unauthorized Products.

       55.     Certain Defendants have unlawfully appropriated Glitch’s protectable expression

by taking material of substance and value and creating Unauthorized Products that capture the total

concept and feel of the MD Copyrighted Works, including the distinctive characters embodied

therein.

       56.     On information and belief, the certain Defendants’ infringement has been willful,

intentional, purposeful, and in disregard of and with indifference to Glitch’s rights.

       57.     Certain Defendants, by their actions, have damaged Glitch in an amount to be

determined at trial.

       58.     Certain Defendants’ conduct is causing and, unless enjoined and restrained by this

Court, will continue to cause Glitch great and irreparable injury that cannot fully be compensated


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 Count III applies to all Defendants who infringed the MD Copyrighted Works, as outlined in Schedule
A attached hereto.


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or measured in money. Glitch has no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Glitch

is entitled to a preliminary and permanent injunction prohibiting further infringement of the MD

Copyrighted Works.

                                    PRAYER FOR RELIEF

WHEREFORE, Glitch prays for judgment against Defendants as follows:

   1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

       confederates, and all persons acting for, with, by, through, under, or in active concert with

       them be temporarily, preliminarily, and permanently enjoined and restrained from:

           a. using the MD Trademark or any reproductions, counterfeit copies or colorable

              imitations thereof in any manner in connection with the distribution, marketing,

              advertising, offering for sale, or sale of any product that is not a MD Product or is

              not authorized by Glitch to be sold in connection with the MD Trademark;

           b. reproducing, distributing copies of, making derivative works of, or publicly

              displaying the MD Copyrighted Works in any manner without the express

              authorization of Glitch;

           c. passing off, inducing, or enabling others to sell or pass off any products as MD

              Products or any other product produced by Glitch, that is not Glitch’s or not

              produced under the authorization, control, or supervision of Glitch and approved

              by Glitch for sale under the MD Trademark and/or MD Copyrighted Works;

           d. committing any acts calculated to cause consumers to believe that Defendants’

              Unauthorized Products are those sold under the authorization, control, or

              supervision of Glitch, or are sponsored by, approved by, or otherwise connected

              with Glitch;




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       e. further infringing the MD Trademark and/or MD Copyrighted Works and

           damaging Glitch’s goodwill; and

       f. manufacturing, shipping, delivering, holding for sale, transferring, or otherwise

           moving, storing, distributing, returning, or otherwise disposing of, in any manner,

           products or inventory not manufactured by or for Glitch, nor authorized by Glitch

           to be sold or offered for sale, and which bear any of the MD Trademark, or any

           reproductions, counterfeit copies or colorable imitations thereof and/or which bear

           the MD Copyrighted Works;

2) Entry of an Order that, upon Glitch’s request, those with notice of the injunction, including

   without limitation, any websites and/or online marketplace platforms like Alibaba,

   AliExpress, Amazon, DHGate, eBay, Redbubble, Teepublic, and Walmart shall disable

   and cease displaying any advertisements used by or associated with Defendants in

   connection with the sale of counterfeit and infringing goods using the MD Trademark

   and/or MD Copyrighted Works;

3) That certain Defendants account for and pay to Glitch all profits realized by those

   Defendants by reason of those Defendants’ unlawful acts herein alleged, and that the

   amount of damages for infringement of the MD Trademark be increased by a sum not

   exceeding three times the amount thereof as provided by 15 U.S.C. § 1117;

4) In the alternative, that Glitch be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of

   the MD Trademark;




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   5) As a direct and proximate result of certain Defendants’ infringement of the MD

       Copyrighted Works, Glitch is entitled to damages as well as those Defendants’ profits,

       pursuant to 17 U.S.C. § 504(b);

   6) Alternatively, and at Glitch’s election prior to any final judgment being entered, Glitch is

       entitled to the maximum amount of statutory damages provided by law, $150,000 per work

       infringed pursuant to 17 U.S.C. § 504(c), or for any other such amount as may be proper

       pursuant to 17 U.S.C. § 504(c);

   7) Glitch is further entitled to recover its attorneys’ fees and full costs for bringing this action

       pursuant to 17 U.S.C. § 505 and 15 U.S.C. § 1117(a); and

   8) Award any and all other relief that this Court deems just and proper.



Dated this 10th day of July 2024.             Respectfully submitted,


                                              /s/ Martin F. Trainor
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